                                                      U.S. Department of Justice
                                                      Civil Division, Appellate Staff
                                                      950 Pennsylvania Ave NW
                                                      Washington, DC 20530

                                                      Tel: (202) 514-5091

                                                      July 11, 2025
VIA CM/ECF

Clifton Cislak
Clerk, United States Court of Appeals for the D.C. Circuit
E. Barrett Prettyman United States Courthouse & William B. Bryant Annex
333 Constitution Avenue, NW
Washington, DC 20001

      RE:    National Treasury Employees Union v. Vought, No. 25-5091;
             Hearth, Patio & Barbecue Ass’n v. Department of Energy, No. 22-1286;
             Khalid v. TSA, No. 23-1150;
             Khalid v. Bondi, No. 24-5091

Dear Mr. Cislak:

       I respectfully request leave to withdraw as counsel for the government in these
cases, as I will no longer be employed by the U.S. Department of Justice as of July 13,
2025. I therefore respectfully request that my appearance be removed from the
dockets and that my name be removed from the ECF distribution lists. Other
Department of Justice attorneys will continue to represent the government in these
cases.

                                               Sincerely,

                                               /s/ Catherine Padhi
                                               Catherine Padhi

CC (via CM/ECF): all counsel of record
